             Case 1:22-cr-00673-LAK Document 414 Filed 03/20/24 Page 1 of 9




                                          570 Lexington Avenue, Suite 3500
                                                New York, NY 10022
                                                   212-466-6400



                                                              March 20, 2024

VIA ECF
The Honorable Lewis A. Kaplan
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

        Re:      United States v. Bankman-Fried, 1:22 CR 673 (LAK)

Dear Judge Kaplan:

        This letter-brief is respectfully submitted on behalf of Sam Bankman-Fried in further
reply to the government’s Sentencing Memorandum in the captioned matter. (ECF 410). Sam
respectfully maintains his objections to the PSR set forth in his Sentencing Memorandum (ECF
407, “Def. Br.”) and his March 19, 2024 letter-brief (ECF 413), and adds the following thereto.1

        1.       Kisor and Actual Loss

        Sam’s Sentencing Memorandum demonstrated that the application of intended loss is
impermissible under Kisor v. Wilkie, 588 U.S. ----, 139 S. Ct. 2400 (2019), and a series of
appellate decisions spanning nearly five years. Def. Br. at 16-17. In response, the government
asserts that the “Second Circuit and district courts within this Circuit have, even after Kisor,
consistently applied the commentary on ‘intended loss’ when calculating the Guidelines range.”
Gov. Br. at 48. But all the government cites is a single, unpublished, non-precedential summary
order from the Second Circuit that quotes a decision from five years before Kisor, that did not
consider this Kisor argument, and that ultimately applied actual instead of intended loss. Indeed,
the language cited by the government from United States v. Powell, 831 F. App’x. 24, 25 (2d Cir.
2020) is neither a statement of law post-Kisor nor is it “consistently applied” within this Circuit.

       To the contrary, two judges within the Eastern District of New York have considered
Kisor’s application to the guidelines’ loss calculation and concluded that intended loss is
inapplicable. In United States v. Gary, Judge Donnelly refused to apply intended loss to a
§ 2B1.1 loss calculation and said the following about Kisor:


1
 For purposes of sentencing, Sam accepts the jury’s verdict. He disputes many of the facts in the government’s
submission and preserves all rights to do so on appeal.
             Case 1:22-cr-00673-LAK Document 414 Filed 03/20/24 Page 2 of 9

The Hon. Lewis A. Kaplan, U.S.D.J.
March 20, 2024
Page 2

        Judge Amon had the opportunity to consider this recently. And this is all on the
        subject of whether intended loss is something that courts should consider. Intended
        loss is mentioned in the comments. Judge Amon said that the idea that loss means
        intended loss rather than actual loss is not the kind of ambiguity that the Supreme
        Court in Kisor was talking about. I think Judge Amon’s reasoning is correct for a
        lot of the reasons, the practical reasons that she cited in that opinion . . . But for
        whatever it’s worth, I think under Kisor, this idea of intended loss, at least for
        purposes of the guidelines, it adds something that the guidelines themselves don’t
        say. Obviously, a court can consider what a defendant’s intended loss was in
        considering the statutory factors. But I don’t think, for purposes of the guidelines
        themselves, that that’s what we should do.

See Ex. A, August 24, 2023 Hearing Transcript, at 6:22-7:22, Case No. 20-cr-440 (AMD)
(E.D.N.Y.).2

        The government also claims that “[o]ther courts” have rejected attempts to rely on Kisor
in this manner, but again cites only a single decision from the Sixth Circuit in United States v.
You, 74 F.4th 378, 396-98 (6th Cir. 2023). Gov. Br. at 48. But even that lone decision has been
criticized within the Sixth Circuit. See United States v. Kennert, No. 22-1998, 2023 WL
4977456, at *4 (6th Cir. Aug. 3, 2023) (Murphy, J., concurring) (as to the guidelines’
commentary that loss can include intended loss, “make no mistake, I find this interpretation
implausible. If considering this question from scratch, I would have agreed with the views of our
colleagues on the Third Circuit . . . ‘Loss’ means ‘loss’ . . . [J]ust because ‘loss’ can refer to [ ]
different harms does not mean that it can refer to nonexistent ones too.”).

         To the extent that “other courts” are considering Kisor in the context of loss calculations,
like Gary, Beebe, and the line of cases cited in Sam’s sentencing submission, they are coming
out in favor of defendants and against the government. See United States v. Patel, Case No. 19-
CR-80181-RAR, 2023 WL 5453747, at *1-3 (S.D. Fla. Aug. 23, 2023) (“Here, § 2B1.1 is
unambiguous. So, the Court cannot consider the commentary and is bound by § 2B1.1’s plain
text.”); United States v. Wheeler, No. 5:22-CR-38-FL-1, 2023 WL 4408939, at *1-3 (E.D.N.C.
July 6, 2023) (“In sum, the weight of present authority supports limiting ‘loss’ to actual loss.”).

        2.       Kisor and Credits Against Loss

       The government misinterprets Kisor with respect to other guidelines issues, as well. For
example, the government asserts that “the plain text of the Guidelines does not provide for any
reduction in loss amount based on the possibility that victims will receive compensation in the
bankruptcy.” Gov. Br. at 40. There is no such restriction in the guidelines themselves, which
explains why the government cites commentary to support its sweeping assertion. Id. at 36-37,
39-40. Kisor and the cases interpreting its application to the guidelines instruct that loss means

2
 Judge Donnelly cited a sentencing decision from Judge Amon of the Eastern District in United States v. Beebe,
Case No. 21-cr-197 (CBA) (E.D.N.Y.). That sentencing transcript is not accessible on PACER and undersigned
counsel was unable to obtain a copy in advance of this filing.
         Case 1:22-cr-00673-LAK Document 414 Filed 03/20/24 Page 3 of 9

The Hon. Lewis A. Kaplan, U.S.D.J.
March 20, 2024
Page 3

an amount that is actually lost, consequently, Sam should be credited for payouts that customers,
lenders, and investors receive from the bankruptcy.

       The government repeatedly decries that customers have missed out on the upside of
market swings since the petition was filed. See Gov. Br. at 42-46. The government does not
deny that bankruptcy payouts will be made eventually, and any delays and missed market swings
should be attributed to operation of the bankruptcy code and not to Sam’s alleged crimes.
Moreover, it is not clear the government is correct that customers will miss out on the upside of
market swings. A February 28, 2024 summary of the bankruptcy distribution plan submitted by
the debtor estate to the government suggests that customers may also receive the appreciated
value of digital assets. See Ex. B at 2.

         Nor does the case law cited by the government support the argument that the Court
should not credit Sam for the inevitable bankruptcy payouts to creditors. United States v. Ware,
399 F. App’x 659, 662 (2d Cir. 2010), is not precedential, was decided nine years before Kisor,
and provides no details as to how the company’s bankruptcy filings were relevant to loss in a
contempt prosecution for disobeying court orders in a civil lawsuit. Id. Similarly, United States
v. Bergstein, 788 F. App’x 742, 747 (2d Cir. 2019) is a non-precedential summary order that did
not consider Kisor and determined that intended loss was “the appropriate measure of loss,”
rendering any discussion of funds subsequently recovered by the company mere dicta. The
government urges the Court to disregard the Seventh Circuit’s calculation of loss in United States
v. Durham, 766 F.3d 672 (7th Cir. 2014), but offers no reason why it should do so. It asserts that
“the evidence at sentencing did not show exactly how much the defendants had misappropriated,
so the district court relied on the amounts invested by investors minus the amount recovered in
bankruptcy as a reasonable proxy for that loss.” Gov. Br. at 41. But there was no such statement
about the evidence at sentencing in Durham. To the contrary, the Seventh Circuit described the
district court’s loss calculation as being based on a report prepared by the corporate bankruptcy
trustee “[a]fter a thorough review of [the company’s] books and the claims submitted by
investors[.]” 766 F.3d at 687.

         Finally, the government argues that the holding of United States v. Abiodun, 536 F.3d 162
(2d Cir. 2008), a fraud case involving monetary losses that were reimbursed by victims’ financial
institutions, “is that the costs of collection should be added to the total loss amount, not that such
costs are the only permissible loss amount.” Gov. Br. at 46. The government misreads that
decision. The Second Circuit described the district court’s calculation of the number of victims
as taking “individuals who had spent an appreciable amount of time securing reimbursement for
the financial losses from their banks or credit card companies” and considering them “together
with the ‘dozens’ of corporate victims and the ‘small percentage of individuals who actually did
lose money[.]’” 536 F.3d at 166 (emphasis added). The “corporate victims” were the financial
institutions that reimbursed the first category of individuals for their losses. There is no
indication that the district court counted the reimbursements paid to the first group of individuals
as cognizable monetary losses suffered by those individuals. To the contrary, the Second Circuit
held that the district court erred when it “took lost time into account when calculating the number
of victims affected by defendants’ conduct but failed to include the monetary value of this lost
time when calculating the actual loss[.]” Id. at 169. Abiodun therefore fully supports Sam’s
            Case 1:22-cr-00673-LAK Document 414 Filed 03/20/24 Page 4 of 9

The Hon. Lewis A. Kaplan, U.S.D.J.
March 20, 2024
Page 4

position that bankruptcy payouts should be credited against loss and that the fees incurred by the
FTX Creditors Committee in the bankruptcy proceedings are a reasonable alternative estimate of
actual loss in this case. Def. Br. at 22-23.

       3.       Intended Loss

        In the event the Court considers intended loss despite Kisor, the government asserts that
even if Sam “hoped that those investments would prove profitable, enabling him to escape
detection for his misuse of victim funds, that is not sufficient to reduce the intended loss
calculation.” Gov. Br. at 52. The government offers no basis for the Court to disregard United
States v. Confredo, 528 F.3d 143 (2d Cir. 2008), which held that evidence of a defendant’s
subjective intent to repay fraudulently obtained loans can be sufficient to reduce intended loss.
Id. at 152. In response to just such evidence, the government complains that the letter cited in
Sam’s sentencing submission was from “an FTX employee who did not begin directly working
with the defendant until around November 7, 2022[.]” Gov. Br. at 51. But that is the point. That
employee had no prior relationship with Sam, and nonetheless provided a neutral but striking
account of Sam “work[ing] almost around the clock, to the point of exhaustion[,]” with a “sole
focus on helping to get customers repaid in full.” See ECF 407-10 at 2. Likewise, the
government discounts without explanation Sam’s good faith associated with the “sharp rise” (see
ECF 407-36, fn. 1) in Alameda deposits into FTX prior to the petition date. Gov. Br. at 52; see
contra ECF 413 at 1, ECF 413-1.

       4.       Investor “Loss”

        As to FTX investors, the government argues that Sam is accountable for $1.7 billion, the
“full amount of the funds invested” by some of the world’s most sophisticated venture capital
firms and investment funds. (Gov. Br. at 46-47). They cite United States v. Rutkoske, 506 F.3d
170 (2d Cir. 2007) for the proposition that the appropriate measure of investor loss is “the
difference between pre- and post-disclosure share prices.” Id. at 179. But Rutkoske concerned a
publicly traded stock whose price decline in the public market followed disclosure of a boiler-
room style fraud. Id. at 179. Not so here. FTX stock was privately held and no measurable price
drop was proven at trial. Rather, two trial witnesses “estimate[d]” that their companies’ FTX
stock was worth zero at the time of trial. (Trial Tr. 290; 2022). Rutkoske does not endorse a
“choose your own loss” approach to the guidelines in which victims apply accounting principles
to “wr[i]te the value of their investments down to zero,” regardless of the true value of FTX
stock. Gov. Br. at 47.

        Furthermore, recent discovery produced by the government refutes the contention that
“the equity in FTX is now worthless.” Gov. Br. at 39. A February 14, 2024 letter from Debtors’
counsel to the Bankruptcy Trustee (“S&C Letter”) set forth the Debtors’ “current projected
recovery analysis” based on the value of their assets as of December 31, 2023. See Ex. C at 3.
That analysis projected as much as $13.7 billion in total assets in the bankruptcy estate, $12.6
billion in non-investor claims (including post-petition interest), $16.9 billion in government
            Case 1:22-cr-00673-LAK Document 414 Filed 03/20/24 Page 5 of 9

The Hon. Lewis A. Kaplan, U.S.D.J.
March 20, 2024
Page 5

claims, and $2 billion in investor claims (which the government confirms is really $1.7 billion).
Id. Two weeks later, on February 28, 2024, Debtors’ counsel revised its estimate such that the
“total amount of Governmental Claims is expected to be $3-5 billion.” See Ex. B at 2.
Apparently, part of what is standing in the way of recovery for FTX investors is government
claims.

        The Debtors’ most recent disclosure in the bankruptcy proceeding paints an even more
optimistic picture for FTX investors. On March 5, 2024, the Debtors asked the bankruptcy court
for a fourth extension of the deadline to file a Chapter 11 plan. In re FTX Trading Ltd., Case No.
22-11068 (JTD), ECF 8621, at 10 (Bank. D. Del. Mar. 5, 2024) (“Extension Motion”). That
Extension Motion asserted that in the period between January 26, 2024, and the date of the
motion (March 5), the Debtors had “[c]ontinued to identify and recover billions of dollars in
liquid assets.” Extension Motion at 10. While the full amount of the “billions of dollars in liquid
assets” recovered during that period is not known to us, it appears more and more likely that
FTX investors may be in a position to recover 100% of their claims in the bankruptcy. That
conclusion is bolstered by the Debtors’ representation that even after paying creditors
postpetition interest as a result of “improved projections as to distributable value,” there will be
“exit liquidity” left over. Extension Motion at 10. The Debtors’ reference to “exit liquidity”
undercuts the government’s assertion that the FTX equity is “worthless[.]”

       5.       Abuse of Position of Trust

       The government’s argument to apply an enhancement for abuse of a position of trust
misses the mark. They first cite United States v. Lebedev, 932 F.3d 40, 57 (2d Cir. 2019), for the
proposition that “[a] position of trust is held by one who was accorded discretion by the victim
and abused a position of fiduciary or quasi-fiduciary status.” Id. (citation and internal quotes
omitted). But the government provides no evidence to support its contention that the customers
of FTX accorded Sam any degree of discretion with respect to funds they placed on the FTX
platform. Sam’s role as CEO of FTX had nothing in common with that of an attorney serving as
a guardian, as the government suggests. Gov. Br. at 60.

        The government claims that customers “entrusted their money to [Sam’s] care (through
FTX).” Gov. Br. at 60. But they conflate mere “trust” with a “position of trust.” Trust is a
component of many contractual relationships. For example, one trusts that an online vendor will
send the merchandise one has paid for in advance, but that does not put the vendor in a “position
of trust” vis-à-vis the customer. The relationship remains contractual despite the existence of
some degree of trust.

      Pointing to United States v. Christiansen, 958 F.2d 285 (9th Cir. 1992), the government
compares Sam to a credit union manager who embezzled funds. Gov. Br. at 60. Again, the
government overshoots. In Christiansen, the Ninth Circuit found that the defendant credit union
manager held a position of trust with respect to her credit union employer, the victim of the
embezzlement, not with respect to the customers of the credit union. See 958 F.2d at 286
            Case 1:22-cr-00673-LAK Document 414 Filed 03/20/24 Page 6 of 9

The Hon. Lewis A. Kaplan, U.S.D.J.
March 20, 2024
Page 6

(“Christiansen embezzled over $96,000 from the credit union she managed, breaching the trust
vested in her by her employer.” (emphasis added)). Sam may well have held a position of trust
with respect to FTX, but that does not suffice to support this enhancement.

       6.       “Relocation”

         The government’s argument with respect to the enhancement pursuant to Section
2B1.1(b)(10) provides a clear example of distorting the facts to fit the narrative. The government
argues that the enhancement is “appropriate where the defendant ‘moved his scheme … in an
effort to avoid detection.” Gov. Br. at 57 (citing Warner v. United States, 21 F. App’x 43, 46 (2d
Cir. 2001)). The government then contends that Sam “relocated FTX and Alameda outside of the
United States in part to take advantage of the more permissive regulatory environment that
allowed FTX.com to offer cryptocurrency derivative products that are not lawful to sell as a
U.S.-based offering its products to U.S. retail customers without an appropriate license from the
CFTC.” Gov. Br. at 57. But Alameda never offered cryptocurrency derivative products to any
customers and FTX.com was never located in the United States. The only move involving
FTX.com was from Hong Kong to The Bahamas, in the middle of a worldwide pandemic. The
government provides no support for its insinuation that this move was part of an effort to avoid
detection by law enforcement personnel of any nation.

       7.       Bankruptcy Fraud Enhancement

        The government claims that a two-level enhancement pursuant to U.S.S.G. §
2B1.1(b)(9)(B) should apply because the offense involved “a misrepresentation or other
fraudulent action during the course of a bankruptcy proceeding.” Gov. Br. at 54. This falls flat.
The government does not dispute that Sam made no misrepresentation in any bankruptcy
proceeding. Yet they contend that Sam’s compliance with an order of Bahamian authorities to
transfer certain assets to those Bahamian government authorities constituted fraudulent conduct.
The government, casting Sam’s conduct as “shielding” assets from the U.S. bankruptcy process,
Gov. Br. at 56, argues that that is a “legally sufficient basis to impose this enhancement.” Gov.
Br. at 56. In support, the government cites only United States v. Simpson, 796 F.3d 548, 555 (5th
Cir. 2015). In Simpson, however, the defendant had conspired with a bankruptcy debtor (and
received payment) to shield assets so that the debtor could retain them for himself outside of the
bankruptcy proceeding. Id. at 555. Sam, on the other hand, complied with an order of a foreign
government with physical jurisdiction over him. He did not seek to transfer the assets to himself;
he transferred them to the foreign government. And, unlike Simpson, he received no
compensation for his efforts.

       8.       Forfeiture

         Sam does not object to the forfeiture of the property specified in the preliminary
forfeiture order, which is not to acknowledge that he had a personal interest in any of it in the
first place. The government has already seized most of the identified assets, and the remaining
assets are under the control of the debtor’s estate. See ECF 400 at 60-61; ECF 413-3. Yet, the
government seeks a money judgment against Sam for $11 billion. This is draconian.
         Case 1:22-cr-00673-LAK Document 414 Filed 03/20/24 Page 7 of 9

The Hon. Lewis A. Kaplan, U.S.D.J.
March 20, 2024
Page 7


        As an initial matter, a money judgment is not authorized by the forfeiture statutes. The
government seeks forfeiture against Sam pursuant to 18 U.S.C. §§ 981(a)(1)(c) and 982(a)(1),
and 28 U.S.C. § 2461(c). Those statutes do not, however, authorize a forfeiture money
judgment, as opposed to the forfeiture of specific assets derived from the crime (or substitute
assets, pursuant to the procedures of 21 U.S.C. § 853(p)). Where—as here—the text of the
statutes at issue do not explicitly provide for a forfeiture money judgment, courts lack the power
to impose one. See, e.g., United States v. Nejad, 933 F.3d 1162, 1164-65 (9th Cir. 2019) (“The
criminal forfeiture statutes at issue … lack any textual basis for imposing a personal money
judgment.”); United States v. Surgent, No. 04-CR-364 (JG)(SMG), 2009 WL 2525137, at *5-16
(E.D.N.Y. Aug. 17, 2009) (holding that neither § 982 nor § 853 authorize forfeiture money
judgments; discussing flawed reasoning of decisions imposing such judgments; observing that
“Congress knows how to explicitly authorize” a forfeiture money judgment when it desires to).

        A money judgment is particularly inappropriate here because the government relies in
part on 18 U.S.C. § 982(a)(1), which broadly authorizes any property “involved in” or “traceable
to” a money laundering offense, whether or not the property is the proceeds of a crime or
otherwise represents an ill-gotten gain.

        A money judgment, as opposed to forfeiture of specific property, is also unnecessary here
given that the government has already seized the property. See ECF 389 at 6-7 (identifying
properties “seized by the government”). Sam did not object to the forfeiture of the already
seized assets. He does object to forfeiture in the form of a money judgment, which is a new and
distinct burden.

         As to the money received from investors and lenders in connection with the wire fraud
counts, 18 U.S.C. § 981(a)(1)(C) does not apply. There is nothing “inherently unlawful” about
exchanging equity for investments or taking loans. See United States v. Contorinis, 692 F.3d
136, 145 n.3 (2d Cir. 2012). The government cites to Milton to justify that “embezzlement,
soliciting funds as part of a Ponzi scheme” are “inherently unlawful.” Govt. Br. at 103.
However, Judge Ramos noted “the difficulty of determining whether § 981(a)(2)(A) or (a)(2)(B)
applies to a particular defendant’s conduct” and “[t]he case law provides no clear way to
delineate” as to which definition of “proceeds” applies. United States v. Milton, 21 Cr. 478 (ER),
2024 WL 779210, at *4 (S.D.N.Y. Feb. 26, 2024). Additionally, Milton is appealing.

        As a factual matter, the government cites GX 26 to support its claim that the Court should
direct the forfeiture of $1,720,000,000 for investors “which represents the proceeds of the
defendant’s securities fraud.” Gov. Br. 105. GX 26 is a spreadsheet that lists the amounts
invested in the Series B, B-1, and C round investments in FTX.com. This spreadsheet was
admitted through the testimony of former FTX general counsel Can Sun. Mr. Sun testified that
he “[c]onsistently told our investors that FTX and Alameda are two fully independent and
separate companies … [b]ased on representations made to [him] by Sam.” Trial Tr. at 1945. But
it is improbable that Mr. Sun could have made any representations to all Series B round investors
that induced their investments (whether based on Sam’s representations to him or otherwise)
because the Series B round closed in July 2021 and Mr. Sun did not start at FTX until August
            Case 1:22-cr-00673-LAK Document 414 Filed 03/20/24 Page 8 of 9

The Hon. Lewis A. Kaplan, U.S.D.J.
March 20, 2024
Page 8

2021. Trial Tr. at 1943. Thus, except for the two Series B round investors who testified at trial
that Sam personally made representations to them regarding the relationship between FTX and
Alameda (representatives of Paradigm and Third Point), the trial record does not support the
inference that the funds received from Series B round investors are proceeds of securities fraud.
Consequently, any forfeiture ordered with respect to proceeds of security fraud should not
include the approximately $733 million received from the Series B round investors other than
Paradigm and Third Point.

       Lastly, the government requests that the Court order remission. Sam in no way objects to
remission occurring, but maintains his objection to a forfeiture money judgment and notes that
only the Attorney General or his designee has authority to order remission. See United States v.
Pescatore, 637 F.3d 128 (2d Cir. 2011).

       9.       Constitutional Rights

        Not only is the proposed forfeiture legally and factually unsupported, it is
unconstitutional. The Supreme Court in Bajakajian has noted “[t]he touchstone of the
constitutional inquiry under the Excessive Fines Clause is the principle of proportionality: The
amount of the forfeiture must bear some relationship to the gravity of the offense that it is
designed to punish.” United States v. Bajakajian, 524 U.S. 321, 334, 118 S. Ct. 2028, 2036
(1998) (citing Austin v. United States, 509 U.S. 602, 622-623, 113 S. Ct. 2801, 2812 (1993)
(noting Court of Appeals’ statement that “‘the government is exacting too high a penalty in
relation to the offense committed’”); Alexander v. United States, 509 U.S. 544, 559, 113 S. Ct.
2766, 2776 (1993) (“It is in the light of the extensive criminal activities which petitioner
apparently conducted . . . that the question whether the forfeiture was ‘excessive’ must be
considered”)).

         The forfeiture would be ruinous to Sam’s ability to earn a livelihood in the future. If a
forfeiture can be characterized as punitive, a court must consider “whether the forfeiture is
unconstitutionally excessive.” United States v. Viloski, 814 F.3d 104, 110 (2d Cir. 2016).
In Bajakajian, the Supreme Court “emphasize[d] that the Excessive Fines Clause grew out of the
English constitutional tradition, including Magna Carta, which required that a fine ‘should not
deprive a wrongdoer of his livelihood.’” Viloski, 814 F.3d at 111. The Second Circuit has held
that, in appropriate cases, courts should consider “[w]hether a forfeiture would destroy a
defendant’s livelihood” in addition to the non-exhaustive Bajakajian factors, because “hostility
to livelihood-destroying fines is deeply rooted in our constitutional tradition.” Id. at 111-12. The
potential Eighth Amendment violation here would be particularly pronounced if the forfeiture is
in the form of a money judgment that would attach to Sam indefinitely.

       Independent of any other factors bearing on proportionality, the Court should reject the
proposed forfeiture because—given its massive size—it would undisputedly be “ruinous” to
Bankman-Fried’s ability to earn a livelihood in the future. See United States v. Levesque, 546
F.3d 78, 83-85 (1st Cir. 2008) (holding that question whether a forfeiture would destroy a
defendant’s future livelihood is “separate” from the test for proportionality). If the money
         Case 1:22-cr-00673-LAK Document 414 Filed 03/20/24 Page 9 of 9

The Hon. Lewis A. Kaplan, U.S.D.J.
March 20, 2024
Page 9

judgment sought by the government is granted, it is simply inconceivable that Sam will ever be
in a position to satisfy it. That appears to be the point.

        Finally, in Libretti v. United States, 516 U.S. 29, 48-49, 116 S. Ct. 356, 367-368 (1995),
the Supreme Court held that criminal defendants have no constitutional right to a jury
determination on forfeiture. The Second Circuit has held that criminal forfeiture is not subject to
the Apprendi doctrine. United States v. Stevenson, 834 F.3d 80, 85, (2d Cir. 2016). But Southern
Union Co. v. United States, 567 U.S. 343, 132 S. Ct. 2344 (2012), which held
that Apprendi applies to certain criminal fine provisions, undermines Stevenson. In light of
Southern Union Co., Sam preserves for further review on appeal the argument that the proposed
forfeiture order, and in particular any money judgment, would violate his Fifth and Sixth
Amendment rights because it was not based on facts found by a jury beyond a reasonable doubt.

                                                     Respectfully submitted,

                                                      /s/ Marc L. Mukasey
                                                     Marc L. Mukasey
                                                     Torrey K. Young
                                                     Thomas E. Thornhill
                                                     Michael F. Westfal

cc:    All counsel (via ECF)
